Case 2:05-cr-20212-SHI\/| Document 23 Filed 06/20/05 Page 1 of 2 Page|D 32

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 JUH 16 pH m 50
Western Division

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UNITED sTATEs oF AMERICA §§ §§ r 1-{‘§3§ §§§p§lg
-vs- Case No. 2:05cr20212-Ma

])AVID PATTERSON

 

ORDER OF DETENT|ON PENDING TRIAL
FlNDlNGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECT|ONS REGARDING DETENT|ON

DAVID PATTERSON

is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences cr being held in custody pending
appeal.

DAVID PATTERSON

shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a Court of the
United States or on request of an attorney for the government, the person in charge cf the corrections facility shall
deliver the Dcfendant to the United States marshal for the purpose of an appearance in connection with a Court
proceeding

Dare; runs 16, 2005 <:S. jim/11 @.»

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-202l2 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

